     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 1 of 27



 1   HAROLD J. MCELHINNY (CA SBN 66781)            WILLIAM F. LEE
     hmcelhinny@mofo.com                           william.lee@wilmerhale.com
 2   MICHAEL A. JACOBS (CA SBN 111664)             WILMER CUTLER PICKERING
     mjacobs@mofo.com                              HALE AND DORR LLP
 3   RACHEL KREVANS (CA SBN 116421)                60 State Street
     rkrevans@mofo.com                             Boston, MA 02109
 4   JENNIFER LEE TAYLOR (CA SBN 161368)           Telephone: (617) 526-6000
     jtaylor@mofo.com                              Facsimile: (617) 526-5000
 5   ALISON M. TUCHER (CA SBN 171363)
     atucher@mofo.com
 6   RICHARD S.J. HUNG (CA SBN 197425)             MARK D. SELWYN (SBN 244180)
     rhung@mofo.com                                mark.selwyn@wilmerhale.com
 7   JASON R. BARTLETT (CA SBN 214530)             WILMER CUTLER PICKERING
     jasonbartlett@mofo.com                        HALE AND DORR LLP
 8   MORRISON & FOERSTER LLP                       950 Page Mill Road
     425 Market Street                             Palo Alto, California 94304
 9   San Francisco, California 94105-2482          Telephone: (650) 858-6000
     Telephone: (415) 268-7000                     Facsimile: (650) 858-6100
10   Facsimile: (415) 268-7522
11
     Attorneys for Plaintiff and
12   Counterclaim-Defendant APPLE INC.
13

14                                 UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16                                       SAN JOSE DIVISION
17

18   APPLE INC., a California corporation,         Case No. 11-cv-01846-LHK (PSG)

19                    Plaintiff,                   DECLARATION OF TERRY
                                                   MUSIKA IN SUPPORT OF
20          v.                                     APPLE’S MOTION FOR
                                                   PERMANENT INJUNCTION
21   SAMSUNG ELECTRONICS CO., LTD., a
     Korean corporation; SAMSUNG
22   ELECTRONICS AMERICA, INC., a New
     York corporation; and SAMSUNG                 PUBLIC VERSION
23   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company,
24
                      Defendants.
25

26

27

28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 2 of 27



 1          I, Terry Musika, hereby declare as follows:
 2
     I.     BACKGROUND
 3

 4          1.      I am a Co-Founder and Managing Director of Invotex Group, as well as a CPA
 5   with over 37 years of business experience. I am a former audit and consulting partner for the
 6   international accounting firm of Coopers & Lybrand (currently PricewaterhouseCoopers), former
 7   Managing Director for Navigant Consulting, Inc., and have previously formed, owned and
 8   operated a proprietary database company, a national financial and economic consulting firm, and
 9   a merger and acquisition company. Additionally, I have frequently served the Federal Court
10   system as a Court Appointed Chapter 11 Operating Trustee, Liquidating Chapter 7 Trustee,
11   Operating Chapter 7 Trustee, Examiner, and Paying Agent. My resume, attached as Exhibit 1,
12   lists my work experience, academic degrees, and publications.
13          2.      I testified at trial on August 13th regarding damages. Pursuant to the Court’s
14   Order, I did not address irreparable harm in my trial testimony. (Dkt. No. 1157 at 13:21-25.)
15          3.      My business address is 1637 Thames Street, Baltimore, Maryland 21231.
16
     II.    ASSIGNMENT
17

18          4.      Apple is seeking a permanent injunction for certain Samsung smartphones that the
19   jury concluded violated Apple’s intellectual property. These include but are not limited to the
20   Galaxy S II line of products, the Galaxy S line of products, other Galaxy branded products (such
21   as the Galaxy Prevail) and the Droid Charge. Throughout this declaration I will refer to this set of
22   products as the “Products at Issue.”
23          5.      I have reviewed the Amended Verdict Form filed on August 24, 2012, (Dkt. No.
24   1931), and I understand that a nine-member jury unanimously found that Defendants Samsung
25   Electronics Co., Ltd. (“SEC”), Samsung Electronics America, Inc. (“SEA”), and Samsung
26   Telecommunications America, LLC (“STA”) (collectively “Samsung”) willfully infringed one or
27

28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                    1
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 3 of 27



 1   more valid intellectual property rights held by Apple by importing, offering to sell, or selling the
 2   Infringing Products1 in the United States, including each of the Products at Issue.
 3           6.      I have been asked by counsel for Apple Inc. (“Apple”) to consider the economic
 4   impact to Apple if Samsung is permitted, in the absence of an injunction, to continue to import,
 5   offer to sell, and sell the Products at Issue in the United States.
 6           7.      I conclude that, absent entry of an injunction, Samsung’s continued infringing
 7   conduct in the United States with respect to the Products at Issue will cause substantial and
 8   irreparable harm to Apple. Specifically, as I explain in detail in the sections that follow, I find
 9   that:
10                          Apple and Samsung are direct competitors in the same smartphone market.
11                          The smartphone market is currently at a pivotal moment of transition and
12                           acceleration as manufacturers compete for first-time customers making the
13                           switch from traditional mobile or feature phones to smartphones.
14                           Capturing first-time smartphone customers is of critical importance during
15                           this time period not only because of the market’s current and projected
16                           growth, but also because the loss of first-time customers gives rise to far-
17                           reaching economic consequences due to market factors such as brand and
18                           platform loyalty.
19                          Samsung’s sale of the Products at Issue in the United States has taken
20                           market share from Apple, and unless enjoined, those sales will cause Apple
21                           to lose substantial long-term market share to Samsung in the future. This
22                           loss of market share will result in harm that cannot be quantified or
23                           recaptured with reasonable certainty.
24

25
     1
       Throughout this declaration I will refer to the following set of products as the “Infringing Products”:
26   Captivate, Continuum, Droid Charge, Epic 4G, Exhibit 4G, Fascinate, Galaxy Ace, Galaxy Prevail, Galaxy S
     (i9000), Galaxy S 4G, Galaxy S II (AT&T), Galaxy S II (i9100), Galaxy S II (T-Mobile), Galaxy S II (Epic 4G
27   Touch), Galaxy S II (Skyrocket), Galaxy S Showcase (i500), Galaxy Tab, Galaxy Tab 10.1 (WiFi), Gem,
     Indulge, Infuse 4G, Mesmerize, Nexus S 4G, Replenish, Transform, Vibrant.
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                            2
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 4 of 27



 1                         Samsung’s continued sale of the Products at Issue in the United States will
 2                          also cause substantial downstream losses to Apple in the form of lost sales
 3                          of products and services within the Apple ecosystem. These lost future
 4                          sales would also be extremely difficult to quantify or recapture.
 5                         A substantial nexus exists between the Apple intellectual property found to
 6                          have been infringed by Samsung’s importation and sale of the Products at
 7                          Issue, and consumer purchasing decisions in the smartphone market.
 8          8.      In arriving at these conclusions, I have based my opinions on my training and
 9   experience in the valuation of intellectual property; my training and experience in accounting,
10   auditing, and financial and damage analysis; my independent research of publicly-available
11   information; my review of the pleadings in this case; my review of the many thousands of
12   documents produced by both parties in this case; and the deposition and trial testimony of both
13   Apple and Samsung witnesses.
14          9.      I previously issued the Reply Declaration of Terry L. Musika, CPA in Support of
15   Apple’s Motion for a Preliminary Injunction dated September 30, 2011, (“Reply Declaration”);
16   Expert Report of Terry L. Musika, CPA dated March 22, 2012, (“Original Expert Report”);
17   Rebuttal Expert Report of Terry L. Musika, CPA dated April 16, 2012, (“Rebuttal Expert
18   Report”); and Supplemental Expert Report of Terry L. Musika, CPA dated May 8, 2012,
19   (“Supplemental Expert Report”). I also testified at trial in this case on August 13, 2012. My
20   opinions expressed in the Reply Declaration, Original Expert Report, Rebuttal Expert Report, and
21   Supplemental Expert Report, and in my trial testimony are unchanged. Accordingly, I base my
22   opinions in this declaration on the information and analysis contained in my Reply Declaration,
23   Original Expert Report, Rebuttal Expert Report, Supplemental Expert Report, and my trial
24   testimony, as well as the additional materials identified herein.
25

26

27

28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                  3
Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 5 of 27
Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 6 of 27
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 7 of 27



 1   Macquarie Equities Research report from October 2010 states that Samsung “successfully
 2   positioned itself as a major alternative to Apple’s iPhone series to telecom operators as well end
 3   customers.”12 A June 2011 Woori Investment & Securities report attributes the higher sales of
 4   Samsung’s Galaxy S2 phone in part to the delayed roll-out of the next Apple iPhone.13 Further, a
 5   Shinhan Investment Corp August 2011 report states that “[c]ompetition with Apple in September
 6   will be a key determinant of [Samsung’s] share performance …. Samsung Electronics will have
 7   to prove its smartphone competitiveness even after Apple launches its new product to sustain an
 8   upward trend in share price.”14 The competition between the two parties was further described in
 9   a January 2012 Strategy Analytics report, which acknowledged that “[w]ith global smartphone
10   shipments nearing half a billion units in 2011, Samsung is now well positioned alongside Apple
11   in a two-horse race at the forefront of one of the world’s largest and most valuable consumer
12   electronics markets.”15
13           B.       Samsung Has Positioned the Products at Issue to Compete Head-to-Head with
14                    Apple’s Products
15           16.      Samsung’s marketing documents demonstrate that Samsung has deliberately set its
16   prices for the Products-At-Issue to “surround” Apple’s product offerings and “undercut” Apple’s
17   retail prices.   A March 25, 2011, internal Samsung document entitled “iPhone 5 Counter
18   Strategy,” for example, described the following competitive strategy:
19                          “Offensive Portfolio Strategy:        directly go after ATT/VZW potential
20                           iPhone5 purchasers.” “Defensive Portfolio Strategy: minimize iPhone
21                           defections at Sprint and TMO.”16
22                          “Samsung Seine [Galaxy S II (AT&T)] and Celox [Galaxy S II
23                           (Skyrocket)] to ‘surround’ iPhone with $329 an[d] $249 R/P.”17
24
     12
        Exhibit 16 (Macquarie Equities Research, Samsung Electronics, Oct. 29, 2010, at 7).
25   13
        Exhibit 17 (Woori Investment & Securities, SEC (Handset), June 23, 2011,at 1).
     14
        Exhibit 18 (Shinhan Investment Corp., Samsung Electronics, Aug. 1, 2011, at 3).
26   15
        Exhibit 19 (Chloe Albanesius, Samsung Beats Apple as of 2011’s No. 1 Smartphone Maker, PCMag.com,
     Jan. 27, 2012, http://www.pcmag.com/article2/0,2817,2399445,00.asp) (internal quotation marks omitted).
27   16
        Exhibit 20 (iPhone5 Counter Strategy, PX62 at S-ITC-003351734).
     17
        Exhibit 20 (iPhone5 Counter Strategy, PX62 at S-ITC-003351743).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                            6
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 8 of 27



 1                             “Samsung Celox [Galaxy S II (Skyrocket)] to undercut iPhone with $249
 2                              R/P.”18
 3                             “Samsung Stealth LTE [Droid Charge] at $249 to undercut $299 iPhone5
 4                              (no LTE).”19
 5                             “VZW Recommendation: Samsung 4G products to undercut iPhone across
 6                              tiers.”20
 7                             “Sprint Recommendations: . . . Gaudi [Galaxy S II (Epic 4G Touch)] to
 8                              undercut iPhone5 (4G) by $50.”21
 9                             “Hercules [Galaxy S II (T-Mobile)] to undercut iPhone5 (4G) by $50.”22
10              17.
11

12

13              18.     Additionally, STA’s Chief Marketing Officer, Todd Pendleton, and STA’s Senior
14   Vice President of Mobile Sales, Brian Rosenberg, admitted at their depositions that Apple and
15   Samsung smartphone products compete at all relevant price points. Mr. Pendleton, for example,
16   testified that Samsung and Apple compete in all three price point differentials in the relevant
17   market.24 Mr. Rosenberg testified that “every [Samsung] phone competes” with the iPhone 3GS
18   from “a price point standpoint,” and that the Galaxy S II products compete at a similar price point
19   to the iPhone 4.25
20              19.
21

22

23

24   18
        Exhibit 20 (iPhone5 Counter Strategy, PX62 at S-ITC-003351744).
     19
        Exhibit 20 (iPhone5 Counter Strategy, PX62 at S-ITC-003351745).
25   20
        Exhibit 20 (iPhone5 Counter Strategy, PX62 at S-ITC-003351746).
     21
        Exhibit 20 (iPhone5 Counter Strategy, PX62 at S-ITC-003351749).
26   22
        Exhibit 20 (iPhone5 Counter Strategy, PX62 at S-ITC-003351751).

27   24
          Exhibit 22 (Deposition of Todd Pendleton, Mar. 21, 2012, at 115:18-116:19).
     25
          Exhibit 23 (Deposition of Brian Rosenberg, Jan. 27, 2012, at 72:19-77:23).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                      7
Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 9 of 27
Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 10 of 27
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 11 of 27



 1   than half of all cellphone shipments . . . . By 2016, smartphones will represent 67.4 percent of the
 2   total cellphone market.”36
 3           22.     The smartphone market thus finds itself in a critical period of transition as
 4   manufacturers jockey for the sales of the approximately 27% of mobile phone users who are
 5   projected to switch to smartphones in the U.S. over the next few years. 37 Put another way,
 6   manufacturers are pursuing the 135 million additional smartphones expected to be sold in the U.S.
 7   market between 2012 and 2015 as compared to a total smartphone market of 105 million units in
 8   2011.38 Shifts in market share during this period will have outsized impacts on future dynamics
 9   in the market, making loss of market share now very detrimental to a company’s future success.
10

11           B.      The Ability to Capture First-Time Buyers Today Will Have Profound, Long-
12                   Lasting Effects in the Future Due to Key Smartphone Market Characteristics
13           23.     The smartphone market exhibits a unique set of characteristics that magnify the
14   importance of capturing first-time smartphone consumers. Those characteristics include strong
15   customer loyalty and platform stickiness as a result of perceived high switching costs.
16           24.     Apple’s Phil Schiller, Apple’s Senior Vice President of Worldwide Product
17   Marketing, addressed the importance of first-time buyers in his trial testimony. He stated, “And
18   we know from all of our products and experiences we’ve had selling to customers that a customer
19   who already has one is used to that one, that whole ecosystem. If I have an iPhone, I’m used to
20   how the iPhone works, and I’ve invested in the applications, and I’ve invested in the accessories,
21   so I’m more invested in that product, and I’m more likely to stick with that product line once I
22   have it. So we’re at this really critical juncture where customers are either getting into an
23   ecosystem for the first time or they’re staying with that ecosystem and most often upgrading and
24   36
        Exhibit 30 (IHS iSuppli, Smartphones See Accelerated Rise to Dominance, Aug. 28, 2012,
     http://www.isuppli.com/Mobile-and-Wireless-Communications/News/Pages/Smartphones-See-Accelerated-
25   Rise-to-Dominance.aspx).
     37
        IDC projects that the percentage of consumers who do not own smartphones will drop to 17% by 2015. See
26   Exhibit 2.
     38
        Exhibit 2. 135 million additional smartphones calculated by subtracting the 105 million total smartphone
27   units for 2011 from each subsequent annual forecast for the market. The difference for each year for 2012 to
     2015 sums to approximately 135 million units.
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                             10
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 12 of 27



 1   staying within it.”39 Mr. Schiller further went on to describe the “halo effect” surrounding the
 2   iPhone. “This is very well-known in the industry. It’s often called the halo effect, the idea that
 3   once you buy a product from a company, if you have a good experience with that product, that
 4   you’re more likely to consider other products from that company and especially if those products
 5   do a good job working well together. So that will make you want to buy more products from that
 6   company, as well as the other people around you who you work with or in your family.”40
 7           25.      STA’s Chief Strategy Officer, Justin Denison, similarly addressed the importance
 8   of first-time smartphone buyers at his deposition. He explained, “[I]t has been STA’s view that
 9   there are a significant number of people that have yet to buy their first smartphone, and so we
10   view them as a . . . market of attractive smartphone buyers.”41 Mr. Denison further explained that
11   “repeat purchase behavior is about equal – in fact, it’s a little higher – for Android owners than
12   iOS owners.” When asked if the key opportunity is at entry, Mr. Denison responded, “Certainly,
13   again, we’ve talked about first-time smartphone buyers being an important segment for us, for
14   many reasons.”42
15           26.      STA Vice President of Business Planning and Operations, Corey Kerstetter, also
16   addressed the importance of first-time smartphone buyers at his deposition. He emphasized that
17   “the key data is the operating – operating system repurchase, repurchase data.          So it’s –
18   important . . . for the first-time smartphone purchasers to break them in to the – the specific
19   operating system.”43 He explained that “when customers make an investment in the ecosystem,
20   around the operating system, then there is reluctance to – to change that, from that ecosystem to
21   another ecosystem.”44
22           27.      An international survey conducted by market research firm, GfK, addressed
23   customer loyalty. The study found that “one in five people who own both an iPad and an iPhone,
24   say switching smartphone is more difficult than changing bank accounts or gas or electricity
25   39
        Exhibit 31 (Trial Testimony of Phil Schiller, Aug. 3, 2012, at 616).
     40
        Exhibit 31 (Trial Testimony of Phil Schiller, Aug. 3, 2012, at 616-617).
26   41
        Exhibit 32 (Deposition of Justin Denison, Jan. 25, 2012, at 108).
     42
        Exhibit 32 (Deposition of Justin Denison, January 25, 2012, at 114-115).
27   43
        Exhibit 33 (Deposition of Corey Kerstetter, February 29, 2012, at 37).
     44
        Exhibit 33 (Deposition of Corey Kerstetter, February 29, 2012, at 38).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                 11
Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 13 of 27
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 14 of 27



 1   V.      ABSENT AN INJUNCTION, SAMSUNG’S CONTINUED INFRINGEMENT WILL
 2           CAUSE SUBSTANTIAL LONG-TERM HARM TO APPLE
 3           A.      Apple Will Lose Substantial Long-Term Market Share Absent an Injunction
 4           29.     Samsung’s infringement to date has been massive. As Apple showed at trial,
 5   Samsung sold 22.7 million accused devices in the United States from June 2010 through the
 6   second quarter 2012, generating more than $8.160 billion in revenue.51 As shown on Exhibit 3,
 7   the accused smartphones which the jury found to be infringing account for 20 million units, or
 8   88% of the total accused device units,52 and a total of $7.245 billion in revenue. According to a
 9   recent IDC smartphone report, Samsung’s sales of the Infringing Smartphones accounted for
10   more than 53% of Samsung’s total estimated smartphone sales during this time period (see
11   Exhibit 3).
12           30.     Samsung’s infringement also coincided with a dramatic increase in Samsung’s U.S.
13   smartphone market share. Samsung was losing market share during the period prior to June 2010,
14   when Samsung introduced the first sales of the Infringing Products in the United States.53 After
15   that date, Samsung saw sudden and sustained increases in market share. Between June 2010,
16   when the first Galaxy S phone was introduced, and the second quarter of 2012, Samsung’s U.S.
17   market share jumped six-fold from 5% to above 30% (see Exhibit 4.1). One analyst stated that in
18   the worldwide mobile phone market, Samsung’s “growth is coming entirely from smartphones
19   with the Galaxy line (Samsung’s Android OS phones) as the main driver.”54
20           31.     Samsung’s infringing sales have also coincided with losses in Apple’s market
21   share. Since the fourth quarter of 2011, Apple’s market share has decreased from 45% to 36%,
22   while Samsung’s market share has risen from 19% to 33% over the same time period (see
23   Exhibit 4).
24

25   51
        Exhibit 40 (JX-1500); see also Exhibit 41 (Trial Testimony of T. Musika, Aug. 13, 2012, at 2042:4-2043:14).
     52
        88% of total accused device units equals 20 million units of infringing smartphones divided by 22.7 million
26   of accused devices.
     53
        Exhibit 41 (Trial Testimony of Terry Musika, Aug. 13, 2012, at 2043:25-2045:10); see also Exhibit 42
27   (PDX34B.9).
     54
        Exhibit 43 (Oppenheimer Equity Research, Mixed 2Q11 Wireless Checks, June 7, 2011, at 5).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                             13
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 15 of 27



 1          32.     As previously discussed, the smartphone market is in a unique position where
 2   Apple and Samsung are directly competing for first time smartphone purchasers, and their future
 3   loyalty, as they make the transition from feature phones. In addition, the loss of a single
 4   smartphone sale has an exponential impact on Apple’s overall market share in the wireless device
 5   industry. IHS iSupply recently described the competition among platforms.             “The intense
 6   competition in smartphone platforms has by now resulted in a few casualties, including Symbian
 7   from Nokia and WebOS from Palm. No longer will hardware capabilities be the sole determinant
 8   of success for smartphones moving forward, IHS believes, as victory in the marketplace will now
 9   also rely on many other important factors. These include software capability, a sleek and intuitive
10   user interface, the variety of available applications, strong support from the developer community,
11   and the strength and seamlessness of vertical integration.”55
12          33.     Apple Senior Director and former Chief Patent Counsel, Chip Lutton, testified at
13   his deposition that “another form of harm” is “harm to the iOS ecosystem generally.”56 More
14   specifically, “if Apple is losing market share of momentum or market share generally to Samsung,
15   then it’s losing not just the incremental sales and the revenue associated with them, but also the
16   impact on the ecosystem generally, which could be application developer mind share and
17   attention. It could be other forms of services that are provided into the ecosystem, either by
18   Apple or by third parties, and those could have impacts not only on the vitality of Apple’s iOS
19   platform, but also even on revenue that Apple makes in areas like iTunes and the App store.”57
20          34.     These facts, together with the evidence set forth above that Samsung has
21   systematically positioned the Products at Issue to “surround” and “undercut” Apple’s prices, and
22   that the smartphone market is at a critical juncture characterized by fierce competition for the
23   loyalty of first-time purchasers, points strongly to the conclusion that Samsung’s infringing
24

25
     55
        Exhibit 30 (IHS iSuppli, Smartphones See Accelerated Rise to Dominance, Aug. 28, 2012,
26   http://www.isuppli.com/Mobile-and-Wireless-Communications/News/Pages/Smartphones-See-Accelerated-
     Rise-to-Dominance.aspx).
27   56
        Exhibit 44 (Deposition of Chip J. Lutton, Jr., July 26, 2011, at 328).
     57
        Exhibit 44 (Deposition of Chip J. Lutton, Jr., July 26, 2011, at 328).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                      14
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 16 of 27



 1   conduct has inflicted incalculable and irremediable harm on Apple in the form of substantial,
 2   long-term loss of market share.
 3

 4              B.      Apple Will Also Lose Substantial Downstream Sales and Revenue That
 5                      Would Be Extremely Difficult to Calculate with Reasonable Certainty
 6              35.     Although the jury has awarded Apple monetary damages to compensate Apple for
 7   the harm caused by Samsung’s past infringing conduct, there are several reasons why the full
 8   measure of Apple’s economic loss was not—and could not have been—fully calculated by the
 9   jury.
10              36.     First, the jury did not consider any future harm to Apple. The jury’s calculation of
11   damages only included past harm that could be calculated with reasonable certainty. They jury’s
12   award, therefore, did not include any compensation for the future loss of sales and market share
13   that would result if Samsung were permitted, absent an injunction, to continue selling the
14   Products at Issue.
15              37.     Second, even for past harm, the damages calculated by the jury did not account for
16   the critical phase of transition that the smartphone market is experiencing. Loss of market share
17   by Apple at this critical time has substantial, uncompensated harm that will continue long into the
18   future.
19              38.     Third, Apple’s past and future loss of market share includes lost sales relating to
20   other Apple products that were not included in the jury’s damage award, but nevertheless are part
21   of the established product relationship that Apple enjoys based on Apple’s customer loyalty.
22   These losses are derivative of the lost sales within the broader Apple ecosystem. Samsung’s
23   damages expert demonstrated the strength of these pull-through sales during his deposition last
24   year, when he testified that when he purchased an iPhone he did not buy just one – he purchased
25   six iPhones because he wanted his entire family to have them.58 This behavior is representative
26   of a larger phenomenon whereby consumers who purchase an Apple iPhone are more likely to
27
     58
          Exhibit 45 (Deposition of Michael J. Wagner, Sept. 14, 2011, at 61-62).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                      15
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 17 of 27



 1   purchase other Apple products such as additional smartphones, desktop and laptop computers,
 2   iPods, and iPads. These lost sales within the Apple ecosystem are extremely difficult to quantify
 3   with reasonable certainty, and did not form any part of the jury’s award of damages.
 4           39.     Finally, as an additional subdivision of Apple’s ecosystem, the Products at Issue
 5   have caused and will continue to cause long-term harm in the form of lost sales of accessories,
 6   music and videos, and revenue from search engine royalties. Another category of additional
 7   revenue generated by Apple through iPhone usage is search engine royalties. When an iPhone
 8   user conducts a search on Google, Microsoft Bing, or Yahoo, Apple receives revenue for each of
 9   those searches.59 Revenue related to search engine royalties for all iOS devices has grown to over
10   $75 million quarterly in the third and fourth quarter of 2011.60 All of these forms of revenue are
11   extremely difficult to tie to a specific iPhone sale, and therefore were not included in the jury’s
12   calculation of monetary damages.         After analysis, I have concluded that these losses are
13   significant, but could not be calculated with reasonable certainty.
14

15   VI.     A SUBSTANTIAL LINK EXISTS BETWEEN THE INFRINGED FEATURES AND
16           CONSUMER PURCHASING DECISIONS
17           A.      Physical Appearance & Design (’D677, ’D087, Apple Trade Dress)
18           40.     A review of the information in the record and produced in discovery shows that
19   Apple’s beautiful, patented designs and trade dress drive substantial consumer demand for
20   smartphone products.
21           41.     Phil Schiller, Apple Senior Vice President of Worldwide Product Marketing,
22   testified at trial that “customers value beautiful products and products they can associate and
23   identify with the company who’s [sic] made them.”61 Mr. Schiller also introduced at trial direct
24   evidence of consumer demand for Apple’s protected smartphone designs among Apple iPhone
25   buyers. The image below, shown to the jury as demonstrative exhibit PDX10, is a summary of
26   59
        Exhibit 46 (Deposition of Mark Buckley, Feb. 23, 2012, at 146–152).
     60
        Exhibit 47 (Exhibit 23 to the 3/22/2012 Expert Report of Terry Musika, citing APLNDC-Y0000232431-33,
27   APLNDC-Y0000232434-44, and APLNDC-Y0000232445-46).
     61
        Exhibit 31 (Trial Testimony of Phil Schiller, Aug. 3, 2012, at 629).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                        16
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 18 of 27



 1   survey response data to a question that had asked iPhone buyers how important the attractive
 2   appearance and design feature was in their decision to purchase the iPhone 3GS/4. As shown in
 3   the chart, 81 percent of customers in first quarter of fiscal year 2011 believed that appearance and
 4   design was important to their purchase versus 82 percent in both the second and third quarters of
 5   the same year.         Mr. Schiller explained that “[t]his survey result, across time, across many
 6   customers, affirms for [him] the perspective that, that most customers believe that attractive
 7   appearance and design is very important to their choice of buying a product, and specifically our
 8   product.”62
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24              42.     Surveys conducted by Samsung confirm that Apple’s distinctive appearance and
25   design drive substantial consumer demand among Samsung’s own customer base. For example,
26   in a Samsung survey conducted in 2011 of Samsung Galaxy S and Apple iPhone 4 consumers,
27
     62
          Exhibit 30 (Trial Testimony of Phil Schiller, Aug. 3, 2012, at 635-636).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                   17
Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 19 of 27
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 20 of 27



 1           46.     Finally, third-party consumer surveys and market research reports have also
 2   highlighted the importance of physical appearance and design to consumer purchase decisions.
 3   The December 2008 Gravity Tank presentation produced by Samsung acknowledged the
 4   importance of the iPhone’s novel, physical appearance when it stated that the iPhone’s “[s]creen-
 5   centric design has set the standard for touch” and “has come to equal what’s on trend and cool for
 6   many consumers.”69 It was the physical beauty of the iPhone that allowed Apple to “overtake[]
 7   Samsung as the most stylish brand overall” back in 2008.70
 8

 9

10

11                                                                         Two years later, in 2011, J.D.
12   Power & Associates obtained the same result, finding that “[n]early half (45%) of smartphone
13   owners indicate they chose their model because they liked its overall design and style.”72 This
14   result produced a higher numerical value than any other surveyed feature.73
15

16

17

18

19

20

21

22

23   69
        Exhibit 51 (Gravity Tank, Touch Portfolio: Rollout Strategy, Recommendation Based on Consumer Insight,
     Dec. 2008, PX36 at SAMNDCA00191841).
24   70
        Exhibit 51 (Gravity Tank, Touch Portfolio: Rollout Strategy, Recommendation Based on Consumer Insight,
     Dec. 2008, PX36 at SAMNDCA00191842).
25   71
        Exhibit 52 (J.D. Power, 2009 Wireless Consumer Smartphone Satisfaction Study, SAMNDCA00190144-243,
     at ’194-195).
26   72
        Exhibit 53 (J.D. Power, 2011 Wireless Smartphone Satisfaction Study, Mar. 2011, PX69 at
     SAMNDCA10246348).
27   73
        Exhibit 53 (J.D. Power, 2011 Wireless Smartphone Satisfaction Study, Mar. 2011, PX69 at
     SAMNDCA10246394).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                        19
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 21 of 27



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21          47.    As this evidence shows, both Apple and Samsung consumers have consistently
22   indicated over the years that they place a high premium on the physical appearance and design of
23   smartphones—and especially the protected designs and trade dress associated with the iPhone—
24   when making a purchasing decision.
25

26

27

28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                               20
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 22 of 27



 1          B.      GUI Design (’D305)
 2          48.     A review of the information in the record and produced in discovery also shows
 3   that Apple’s protected graphical user interface (“GUI”) designs drive substantial consumer
 4   demand.
 5          49.     The importance of Apple’s protected GUI designs to the consumer can be seen
 6   from the lengths to which Samsung went to copy those designs when developing the infringing
 7   products. In February 2010, Samsung held an executive level meeting during which the head of
 8   Samsung’s mobile phone division said that Samsung was facing “a crisis of design,” stating that
 9   the difference between Samsung’s and Apple’s user interfaces was “truly that of Heaven and
10   Earth.”74 Jinyeun Wang, a Samsung UX designer for the Galaxy S phones, testified at trial that
11   for a period of three months, developers from all over South Korea came together to work on the
12   Galaxy S’s graphical user interface.75 A contemporaneous document from this time period, dated
13   March 2, 2010, illustrates Samsung’s massive campaign of copying nearly every detail of Apple’s
14   GUI. The document (admitted at trial as PX44) spans 132 pages, and contains hundreds of side-
15   by-side comparisons of iPhone and Galaxy S screenshots, with specific “directions for
16   improvement” that frequently involved direct copying of Apple. Of particular note is a side-by-
17   side comparison of the Galaxy S and iPhone GUIs, with an admission next to the picture of the
18   Galaxy S GUI that says, “Strong impression that iPhone’s icon concept was copied.”76
19          50.     Dr. Susan Kare, Apple’s technical expert regarding the GUI design and ‘D305
20   Patent, testified at trial that she was able to use the March 2, 2010 report described above to “see
21   how, by looking at what ultimately happened, how concrete aspects of the Apple icons affected
22   what ultimately were in the [Samsung] phones that I looked at.”77 Dr. Kare concluded from her
23   review that the GUI adopted by Samsung was directly impacted by the Apple GUI embodied in
24   the ‘D305 Patent. Samsung’s admiration and copying of Apple’s GUI just months after Samsung
25

26   74
        Exhibit 54 (2/11/2010 Email from Bong-Hee Kim, PX40, at SAMNDCA10247377).
     75
        Exhibit 55 (Trial Testimony of Jinyeun Wang, Aug. 14, 2012, at 2530:13-2531:20).
27   76
        Exhibit 56 (Relative Evaluation Report on S1, iPhone, Mar. 2, 2010, PX44 at SAMNDCA00204010).
     77
        Exhibit 57 (Trial Testimony of Susan Kare, Ph.D, Aug. 7, 2012, at 1411-1412).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                     21
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 23 of 27



 1   felt it faced a “crisis of design” with its own user experience provides compelling evidence of the
 2   importance of Apple’s GUI in the smartphone market.
 3          51.       Numerous Samsung internal documents have also noted the importance of Apple’s
 4   GUI to smartphone consumers. For example:
 5                   A presentation entitled “Lessons from Apple” delivered by the Boston Consulting
 6                    Group to Samsung in November 2010 called specific attention to Apple’s “Clean,
 7                    beautiful interface” and “Clean menu screens,” and concluded that “Apple’s sleek
 8                    and intuitive user interface has been a key driver of its value proposition.”78
 9                   An email sent by Samsung’s Sungsik Lee on March 2, 2010 acknowledged that the
10                    UX of the iPhone had already set the standard of the industry.79
11                   A report entitled “Samsung mobile icon design for 2011” shows the evolution of
12                    Samsung’s GUI from 2007, in which it looked nothing like the iPhone GUI, to
13                    Samsung’s infringing GUI design in 2010.80
14                   An email sent by Samsung’s James Botello on December 14, 2008 contained side-
15                    by-side comparisons between the iPhone GUI and various Samsung GUIs, and
16                    detailed some negative comments that Samsung received from AT&T regarding
17                    Samsung’s use of “‘cartoonish’/animated” icons, in comparison to the iPhone’s
18                    “more organized and consistent” icon layout.81
19                
20

21

22                
23

24

25
     78
        Exhibit 58 (BCG: Lessons from Apple, Nov. 3, 2010, PX54 at SAMNDCA00274831).
26   79
        Exhibit 59 (3/2/2010 Email from Sungsik Lee “To UX Executives,” PX194 at SAMNDCA10247549).
     80
        Exhibit 60 (Samsung mobile icon design for 2011, PX55 at SAMNDCA20007212).
27   81
        Exhibit 61 (12/14/2008 Email from James Botello, PX35 at SAMNDCA10247689).
     82
        Exhibit 62 (Touchscreen Phones Review, July 2007, VOC Group, SAMNDCA20018416-433, at ’417.)
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                     22
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 24 of 27



 1

 2

 3           52.       This evidence points strongly to the conclusion that Apple’s protected GUI had
 4   become recognized as the standard in the industry, desired by consumers, and a feature that
 5   Samsung needed to implement in order to recapture market share in this market.
 6
             C.        User Interface Patents (’381, ’915, ’163)
 7

 8           53.       A review of the information in the record and produced in discovery also shows
 9   that Apple’s ’381, ’915, and ’163 patents drive substantial consumer demand.
10           54.       Apple’s conjoint survey expert, John Hauser, conducted two surveys to “determine
11   how much money, if any, Samsung consumers would pay for the features” associated with
12   the ’915, ’163, and ’381 patents.84 His analysis found the following price premiums for the
13   features embodied in the particular patents. “Price Premium for: ’915 Patent, +$39 Smartphones
14   / +$45 Tablets.” “Price Premium for: ’915 + ’163 + ’381 Patents, +$100 Smartphones / +$90
15   Tablets.”85 Dr. Hauser described that the “results reflect that there is substantial demand for the
16   features associated with the patents at issue in this case.”86
17           55.       Additionally Samsung itself identified in multiple documents the importance of the
18   features embodied by these user interface patents. In a 2009 Browser Zooming Methods UX
19   Exploration Study, Samsung found “[T]he most preferred method is ‘Double-Tap’ zooming (8
20   out of 9 respondents except the iphone respondent.) Simplicity is the primary reason of the
                  87
21   choice.”             That    same     study     listed    the    following:     “Design      &     Research
22   Recommendations/Suggestions. Adopt Double-Tap as a supplementary zooming method for up
23

24
     83
        Exhibit 63 (Experts’ Evaluation Result, SIP, Major Status on Global Design Competitiveness Evaluation,
25   October 2007, SAMNDCA00203016-40, at ’33).
     84
        Exhibit 64 (Trial Testimony of John Hauser, Aug. 10, 2012, at 1915).
26   85
        Exhibit 65 (Price Premium for Patented Features, Conjoint Survey Results, Dr. John Hauser, PX30).
     86
        Exhibit 64 (Trial Testimony of John Hauser, Aug. 10, 2012, at 1916).
27   87
        Exhibit 66 (Browser Zooming Methods UX Exploration Study, Apr.17, 2009, PX38 at
     SAMNDCA11104133).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                              23
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 25 of 27



 1   to 2 levels of zooming and back to original in mass market touch devices. The UX of iphone can
 2   be used as a design benchmark.”88
 3           56.     Additional examples where Samsung placed value on the infringed features of the
 4   asserted User Interface Patents include the following. A May 2010 Behold3 Usability Evaluation
 5   Results report found, “[N]o visual effects provided when a web page is dragged to its
 6   endpoint. Behold3: Even when webpage is dragged to its end, only information is provided
 7   without any effect. iPhone: Generates fun for the user with a visual element that seems to
 8   bounce. . . . Direction of Improvement: Provide a fun visual effect when dragging a web page.”89
 9   A February 2010 e-mail from Bong-Hee Kim further states, “[W]hen our UX is compared to the
10   unexpected competitor Apple’s iPhone, the difference is truly that of Heaven and Earth. It’s a
11   crisis of design.”90
12           57.     Third parties also placed value on the features embodied by the asserted User
13   Interface Patents. A December 2009 McKinsey & Co. report identified the following issue for
14   Samsung, “[A]ddress UI gap between Android and iPhone.                     Navigation.      [Side-by-side
15   comparison of iPhone and Samsung phone.]              More intuitive and faster to use on iPhone.
16   Preferred applications always visible. . . . Browser. [Image of IPhone3G user demonstrating
17   pinch-to-zoom.] Better browser experience on iPhone. Pinch to zoom in browser allows more
18   intuitive and easier browsing.” 91 Additionally, a Gravity Tank report from December 2008
19   further suggested to Samsung, “[T]he iPhone isn’t just easy to use, ‘it’s sexy to use.’ Consumers
20   don’t see the iPhone as simply useable; they see it as enjoyable, engaging and cool. Their
21   experience is almost cinematic. Fun. Gestures like the two fingered pinch and flick add a game-
22   like quality to interactions. . . . Whimsical. Lists bounce, icons flitter – the iPhone has a sense of
23   whimsy that shows a thoughtful character in the interface.”92
24   88
        Exhibit 66 (Browser Zooming Methods UX Exploration Study, Apr. 17, 2009, PX38 at
     SAMNDCA11104138).
25   89
        Exhibit 67 (Behold3 Usability Evaluation Results, PX46 at SAMNDCA00508383).
     90
        Exhibit 54 (2/11/2010 Email from Bong-Hee Kim, PX40 at SAMNDCA10247377).
26   91
        Exhibit 68 (McKinsey & Co., Winning in smartphones: It's now or never, Dec. 10, 2009,
     SAMNDCA10807316-387, at ’61).
27   92
        Exhibit 51 (Gravity Tank, Touch Portfolio: Rollout Strategy, Recommendation Based on Consumer Insight,
     Dec. 2008, PX36 at SAMNDCA00191846).
28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                          24
     Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 26 of 27



 1   VII.   APPLE WILL BE IRREPARABLY HARMED ABSENT AN INJUNCTION
 2          58.     After careful review of all the evidence, I conclude that, absent entry of an
 3   injunction, Samsung’s continued infringing conduct in the United States with respect to the
 4   Products at Issue will cause substantial and irreparable harm to Apple.
 5          59.     Apple and Samsung are direct competitors in the lucrative market for United
 6   States smartphone consumers. As discussed above, the smartphone market is at a critical moment
 7   of transition, characterized by intense growth, as the mobile phone market both swells in size, and
 8   as feature phones continue to be replaced by smartphones.               In addition, special market
 9   considerations such as brand and platform loyalty and perceived high switching costs magnify the
10   effects of losing market share, and especially first-time purchasers, at this critical juncture.
11          60.     Further, the Apple intellectual property found to have been infringed by Samsung
12   drives substantial demand among Samsung consumers for the Infringing Products, including the
13   Products at Issue. Samsung’s continued sale of the Products at Issue in the United States will
14   cause substantial long-term market share losses to Apple, which will translate into substantial
15   losses in future revenue from direct sales and from sales within the Apple ecosystem. These lost
16   future sales cannot be quantified with reasonable certainty or recaptured, leading to permanent
17   and irreparable harm to Apple absent an injunction.
18

19

20

21

22

23

24

25

26

27

28
     MUSIKA DECLARATION ISO MOTION FOR PERMANENT INJUNCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                     25
Case 5:11-cv-01846-LHK Document 1982-2 Filed 09/21/12 Page 27 of 27
